Case 7:19-mj-00829 Document 1 Filed on 04/13/19 in TXSD Page 1 of 2

 

 

Ao 91 (Rev. 02/09) criminal co@iaim United States.Djstrict Court
. FiLED`
UNITED STATES DISTRICT COURT ' .
» - APR 13 20 l9
for the
Southern District of Texas _
McAnen Division David ..s. ramseyf C\erl<
1 United States of America ) l . '
V. c __ ¢-r
Francisco_.la_\{ier CELEDON-Cerda § Case No' M / / " 0 32 q M
Y OB: 1985 CGC: Mexico )
' ` )
Defendant
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date of April 12, 2019 ' in the county of Hidalgo in the Southem District of
Texas , the defendant violated 18 U. S. C. § 922(gx5)@

 

an offense described as follows:

Unlawful possession of a firearm or ammunition, in and affecting interstate and foreign commerce, by an alien
unlawfully present in the United States; To Wit; 10,000 rounds of Bamaul 7.62x39mm ammunition.

This criminal complaint is based on these facts:

See Attachment A.

g Continued on the attached sheet

 

\' /S/ Michael Venegas
' ' Complainant 's signature

Michael Venegas, HSI Task Force Off'icer
Prl`nled name and tirle

Submitted by reliable electronic means, sworn to and attested to electronically per Fed. R. Cr. P. 4.1, and probable cause '

found on t 4 §
Date: ARri113,2019 9130 a-m~ l `L g M`/V}QA

. Judge 's signature
City and state: McAllen, Texas Peter Ormsby, U.S. Ma&istrate Judgg
Primed name and title

Case 7:19-mj-00829 Document 1 Filed on 04/13/19 in TXSD Page 2 of 2

Attachment A _/

The facts establishing the foregoing issuance of a criminal complaint are based on the
following: ' '

l. I Michael Venegas, am a Task Force Ofiicer with Depaitment of Homeland Security,
Homeland Security Investigations (HSI). I have been a law enforcement officer since

` October 14, 2007. My duties include the investigation of violations of Federal firearms
laws. I know it to be unlawful for any person who, being an alien and has not been
admitted to the United States legally to possess a firearm or ammunition.

2. On April 12, 2019, HSI Special Agents (SAs) and Task Force Officers (TFOs),
Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)'SA, conducted surveillance
and observed CELEDON-Ce'rda enter a Federal Firearm Licensed (FFL) establishment,
located in McAllen, Texas. CELEDON-Cerda was in a Texas plated vehicle and began
loading boxes of ammunition into a white Chevrolet Silverado.

3. Towards the end of mobile surveillance, SAs approached CELEDON-Cerda at a
shopping plaza located near the intersection of 10th and Ebony. SA’s proceeded to
identify themselves and observed multiple boxes of ammunition in the vehicle.

4. During a field interview CELEDON-Cerda admitted to being in the United States
illegally. CELEDON-Cerda was then taken into custody and transported to the McAllen
HSI office for further processing and questioning '

5. CELEDON-Cerda was the sole occupant of the vehicle. 10,000 rounds of Bamaul
7.62x39mm ammunition were subsequently found with a search of the vehicle.

/ .
6. During a postarrest Miranda interview, CELEDON-Cer'da admitted to knowingly
possessing the ammunition

7. HSI conducted a database query and confirmed that CELEDON-Cerd`a is unlawfully
present in the United States. Due to CELEDON-Cerda's illegal status in the U.S., HSI
determined that CELEDON-Cerda is prohibited from possessing ammunition, in
violation of Title 18 United States Code 922(g)(5)(A). l

8. An ATF SA firearm nexus expert examined the ammunition and determined the
7.62x39mm Bamaul ammunition was manufactured outside the state of Texas and
therefore traveled in and affected interstate commerce. `

